Case 1:19-cv-00565-SWS-MLC Document 21 Filed 12/06/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA for the use
of KIMO CONSTRUCTORS, INC., a New
Mexico corporation,

Plaintiff,
vs. No. 1:19-cv-00565-SWS-MLC
THE OHIO CASUALTY INSURANCE COMPANY,
a New Hampshire corporation, E-CORP, a Utah
corporation, SHIVER SOUTHWEST LLC, a New Mexico
limited liability company, JAKE SHIVER, an individual,
and JAMIE SHIVER, an individual all jointly and
severally,

STIPULATED DISMISSAL OF DEFENDANT E-CORP AND OHIO CASUALTY
INSURANCE COMPANY

Plaintiff Kimo Constructors, Inc. and Defendants E-CORP and Ohio Casualty
Insurance Company stipulate that Defendants E-CORP and Ohio Casualty Insurance
Company be and are hereby dismissed as Defendants in the above matter with prejudice.

Shiver Southwest, LLC, Jake Shiver and Jamie Shiver remain Defendants in the

 

 

matter.
Respectfully submitted by:

BING ) HURST & APODACA, P.C. MCNEILL VONMAACK

mre E Nob fs/ Kennedy D. Nate (electronically 12/4/19)
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